(Rev. 10/19) SLG Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                             for the
                                                        District of Alaska

            CATHERINE HOLLINGSWORTH                             )
                             Plaintiff                          )
                                v.                              )      Civil Action No. 3:19-cv-00156-SLG
                                                                )
                      SOA DHHS, et al.
                            Defendant
                                                                )

                                              JUDGMENT IN A CIVIL ACTION

☐ JURY VERDICT. This action came before the court for a trial by jury. The issues have been tried and the
jury has rendered its verdict.

☒ DECISION BY COURT. This action came to trial or decision before the Court. The issues have been
tried or determined and a decision has been rendered.

          IT IS ORDERED AND ADJUDGED:

          THAT this case is dismissed without prejudice for failure to serve, under Federal Rule of Civil
          Procedure 4(m).




APPROVED:

s/Sharon L. Gleason
Sharon L. Gleason
United States District Judge
                                                                                   Jennifer A. Gamble
Date: December 19, 2019                                                             Jennifer A. Gamble
                                                                                   Acting Clerk of Court
Note: Award of prejudgment interest, costs and attorney's
fees are governed by D.Ak. LR 54.1, 54.2, and 58.1.




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